                    EXHIBIT A




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                                                 Erik Paul Belt            McCarter & English, LLP
                                                 Partner                   265 Franklin Street
                                                 T. 617-449-6506           Boston, MA 02110-3113
                                                 F. 617-607-6035           www.mccarter.com
                                                 ebelt@mccarter.com




      May 12, 2020


      BlueWorks Corporation d/b/a blueworkspool.com
      c/o Haoqi Sun
      12245 Nations Ford Road, Suite 501,
      Pineville, NC 28134

      BlueWorks Corporation d/b/a blueworkspool.com
      c/o Haoqi Sun
      303 Albemarle Street,
      Lexington, NC 27292

      Re:   False Advertising, False Designation of Origin, False
            Association and Trademark Infringement

      Dear Haogi Sun,

      My firm and I represent Hayward Industries, Inc. (“Hayward”), in connection
      with its intellectual property and litigation matters. Hayward is the leading
      manufacturer of equipment for commercial and residential swimming pools
      worldwide. As detailed below, Hayward has recently discovered that
      BlueWorks Corporation (“BlueWorks”) is falsely advertising and selling a
      number of products on Amazon.com and on its own website,
      www.blueworkspool.com, that violate Hayward’s trademark rights and that
      unfairly cause confusion in the marketplace. Thus, Hayward demands that
      BlueWorks immediately stop these violations or else risk further legal action.

                                           ***

      Hayward owns a family of HAYWARD-formative marks, including the
      federally-registered HAYWARD® mark, Reg. No. 3,969,301, claiming use in
      commerce since 1956 in connection with a variety of pool-related products,
      including, for example, salt chlorination systems, and since 1996, in
      connection with numerous other products, including, for example, “electronic
      control systems comprised of a electrolytic chlorine generator and multi-
      purpose controller for controlling the operation, sanitization, and
      maintenance of swimming pools.” This trademark was registered on May 31,
      2011, and, through years of continuous and uncontested use, has become



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      incontestable under 15 U.S.C. § 1065. In addition to this registration and
      numerous other HAYWARD-formative marks, Hayward owns common law
      rights, federal registrations, and/or      pending applications for federal
      registrations of the following marks relevant to this matter:

               •   AQUA RITE®, Reg. No. 3,704,835, claiming use in commerce
                   since at least as early as 1997 in connection with electrolytic
                   chlorine generators.

               •   GOLDLINE®, Reg. No. 5,726,797, claiming use in commerce
                   since 2000 in connection with “salt and chlorine generators for
                   use in swimming pools, spas, hot tubs, whirlpools, and other
                   recreational bodies of water.” The mark was registered on April
                   16, 2019.

               •   TURBO CELL®, Reg. No. 3,156,434, claiming use in
                   commerce since 1999 in connection with “electrolytic chlorine
                   generators for use with swimming pools and spas.” The mark
                   was registered on October 17, 2006.

               •   SWIMPURE®, Reg No. 5,932,470, claiming use in commerce
                   since 2006 in connection with electronic chlorine generators
                   and parts and fittings therefor that produce chlorine from salt
                   for use in swimming pools and other recreational bodies of
                   water. The mark was registered on December 10, 2019.
               •   T-CELL-3™ Serial No. 88,705,817, claiming use in commerce
                   since 2009 in connection with electrolytic chlorine generators
                   for swimming pools and spas. The application for this mark
                   was recently allowed, and the registration will issue soon.
               •   T-CELL-9™ Serial No. 88,705,864, claiming use in commerce
                   since 2009 in connection with electrolytic chlorine generators
                   for swimming pools and spas. The application for this mark
                   was recently allowed, and the registration will issue soon.
               •   T-CELL-15™ Serial No. 88,705,891, claiming use in
                   commerce since 2009 in connection with electrolytic chlorine
                   generators for swimming pools and spas. The application for




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                   this mark was recently allowed, and the registration will issue
                   soon.

               •   BLUE ESSENCE™, used in connection with salt chlorine
                   generators and other pool-related equipment.

      For purposes of this letter, the HAYWARD-formative marks and the other
      marks listed above are called the “Hayward Marks.” Copies of the
      registrations and allowed applications for these marks are included in
      Exhibit A.

                                         ****

                                   INFRINGEMENT

                                    Amazon.com

      It has recently come to our attention that when a consumer searches on
      Amazon.com for a HAYWARD® salt cell or salt chlorine generator,
      advertisements for BlueWorks salt cells appear among the top search
      results. Indeed, BlueWorks is improperly advertising and selling salt cell
      systems that use without authority the HAYWARD®, GOLDLINE®, AQUA
      RITE®, TURBO CELL®, SWIMPURE®, and T-CELL™ trademarks. For
      example, shown below is an excerpt from an Amazon search for “Hayward
      Aquarite T Cell 15.”




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      https://www.amazon.com/s?k=Hayward+aquarite+tcell15&ref=nb_sb_noss
      (accessed May 7, 2020).

      Clicking on the Blue Works salt cell in the search results brings up the
      following advertisement and product description. As seen below, the ad
      uses a mark, “T-15-Cell,” that is intentionally and confusingly similar to
      Hayward’s T-Cell-15™ mark. The ad also uses without authority other
      Hayward Marks.




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      https://www.amazon.com/BlueWorks%C2%AE-T-Cell-9-compatible-replacement-
      Hayward%C2%AE/dp/B06XT9T8TT/ref=sr_1_1?dchild=1&keywords=Blue+Works+
      t-cell-9&qid=1588895384&sr=8-1 (accessed May 7, 2020).

      Because BlueWorks’ salt cells appear prominently in the search for Hayward
      salt cells, consumers are more likely to confuse them for genuine Hayward
      salt cells or, at least, products that are somehow authorized or sponsored by,
      or affiliated with, Hayward. That false association is particularly likely given
      that BlueWorks deceptively and confusingly advertises the salt cells as
      “compatible” with, for example, “Hayward Goldline AquaRite Systems,” as
      seen above, or, as seen below, with various other Hayward brands, like
      “SwimPure.”




      Through these ads and product descriptions, BlueWorks is falsely or
      misleadingly suggesting to consumers that the product is a genuine
      Hayward product or, because the product is supposedly “compatible with”
      the Hayward systems, is somehow authorized or sponsored by Hayward.
      As more fully detailed below, consumers will thus mistakenly believe that
      BlueWorks salt cells originate from, are affiliated with, and/or are sponsored,
      authorized or approved by Hayward. This will cause confusion in the
      marketplace.




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      As seen in the examples aboe, these advertisements also include a
      statement that these supposed Hayward products include a “2 Full years
      warranty,” which adds to the confusion. Consumers might purchase this
      product thinking it is a Hayward product and then seek to have Hayward
      honor the warranty on the salt cells even though they are not authorized
      Hayward products. In that case, Hayward would be made to suffer from
      unwarranted consumer dissatisfaction, thus tarnishing its brand. As a result,
      BlueWorks’ actions are causing irreparable and ongoing harm to Hayward.
      BlueWorks’ continued use of the Hayward marks with knowledge of
      Hayward’s trademark rights constitutes willful infringement and may subject
      you to additional liability, including reimbursement of Hayward’s attorneys’
      fees.

      Further, as seen in the examples below, the product descriptions in these
      advertisements also include a number of trademark violations and false or
      misleading statements. For example, BlueWorks falsely advertises that
      BlueWorks is a “direct replacement for Haywards T-Cell-15.” That statement
      is false. This ad suggests, deceptively and confusingly, that the salt
      chlorinators are genuine Hayward products, or products approved by
      Hayward, that may be generic to, or compatible with Hayward’s salt
      chlorination systems (that is, made with Hayward’s approval).

      To further emphasize this false association, the ads use, without Hayward’s
      permission, images of Hayward’s AQUA RITE® salt chlorine generation
      system and a Hayward TURBO CELL® T-CELL-15™ salt cell. BlueWorks
      even calls its own salt cell a “T-15” which is deceptively and confusingly
      similar to Hayward’s T-CELL-15™ salt cell.

      These uses of the Hayward Marks and images of Hayward products suggest,
      misleadingly or falsely, that Hayward has approved of the BlueWorks’ salt
      cells. That is not the case.




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      https://www.amazon.com/BlueWorks%C2%AE-T-Cell-9-compatible-replacement-
      Hayward%C2%AE/dp/B06XT9T8TT/ref=sr_1_1?dchild=1&keywords=Blue+Works+
      t-cell-9&qid=1588895384&sr=8-1 (accessed May 7, 2020).

      There is no other reason to use the Hayward name and Hayward Marks
      other than to capitalize on Hayward’s good will. Use of the Hayward Marks
      causes confusion, and thus sales of the BlueWorks’ salt cells could be
      enjoined by a federal court. See, e.g., Samick Music Corp. v. Garrett
      Gordon, SACV20-395-GW-JDEX (C.D. Cal., March 2, 2020) (granting
      temporary restraining order and finding that defendants incorporated
      plaintiff’s marks into their marketing materials in which several customers


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      made purchases from defendants believing they were purchasing products
      from plaintiff, which caused a likelihood of confusion).

      BlueWorks’ unfair use of the Hayward Marks and marks confusingly similar
      to the Hayward Marks constitutes trademark infringement, false designation
      of organ, false association, counterfeiting, false advertising, unfair
      competition, and other violations of the Lanham Act, 15 U.S.C. §1051 et
      seq., as well as related violations of state and common law. See
      Anton/Bauer, Inc., v. Energex Sys. Corp., 839 F. Supp. 243 (S.D.N.Y 1993)
      (enjoining defendant from selling replacement products advertised as
      compatible with or equivalent to the plaintiff’s trademarked products and
      finding that such replacement products “may or may not function as valid
      generic equivalents to the [plaintiffs] items they are designed to replace”).

                                 Blueworkspool.com

      BlueWorks also deceptively and falsely advertises purported Hayward
      replacement salt cells on its own website, www.blueworkspool.com, These
      salt cells are not replacements for Hayward products, and Hayward has not
      authorized or sponsored these products. For instance, in the example
      below, BlueWorks calls its product a “T-Cell-15” and then claims that the
      product is a “compatible replacement for Hayward® Goldline AquaRite
      Systems.”




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      https://www.blueworkspool.com/hayward-replacement-cells/item/59-blt15
      (accessed May 7, 2020).

      That ad infringes Hayward’s rights in a number of ways. First, the product is
      called a T-Cell-15, which is Hayward’s long-used and soon-to-be registered
      mark. Second, the ad claims that the salt cell is a “compatible replacement
      Hayward® Goldline AquaRite Systems.” That cannot be correct because
      Hayward’s systems include more than just the salt cell, and thus a salt cell
      alone cannot be suitable replacement of the entire system.

      Again, BlueWorks is falsely advertising this product with the Hayward marks
      deceptively suggesting that its compatible with, or a replacement for,
      Hayward’s products. As explained above, consumers will mistakenly
      believe that BlueWorks salt cells originate from, are affiliated with, and/or
      are sponsored, authorized or approved by Hayward, which they are not.
      BlueWorks is capitalizing on Hayward’s good will. Consequently, Hayward
      will continue to be harmed by BlueWorks’ improper conduct.

      Finally, upon clicking the link in the above ad for “Manual Download,” a
      consumer is directed to ta “User Guide” that contains additional false and
      misleading statements. For example, as seen below, Blueworks states that
      its salt cell “meet or exceeds all original specifications” and is “a perfect
      replacement for Hayward, Goldline, Aqua Right, Swim Pure, . . . Blue
      Essence” is not only false but falsely and misleadingly suggests to
      consumers that the products are comparable to or compatible with Hayward.
      Hayward has not authorized, sponsored, or approved these products and
      has certainly not authorized the use of the Hayward marks in connection
      with any BlueWorks products. Such statements, including the comparisons
      with Hayward products, constitute false advertising.




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      BlueWorks conduct, as summarized above, is causing irreparable and
      ongoing harm to Hayward. BlueWorks’ willful and continued use of the
      Hayward Marks with knowledge of Hayward’s trademark rights constitutes
      violations of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) et seq.,
      including trademark infringement, false designation of origin, false




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      advertising, counterfeiting, and unfair competition, as well as related
      violations of state and common law.

                                         ****

                   HAYWARD’S DEMAND TO STOP INFRINGING

      Hayward has built a significant, worldwide reputation as the source of
      Hayward pool products and equipment and has earned the substantial good
      will that is associated with the Hayward brand. As a result of Hayward’s
      long, continuous, and widespread promotion and sale in commerce of
      products bearing the Hayward Marks, these marks have achieved broad
      recognition among consumers and the trade as signifying high quality
      products originating exclusively from Hayward. Hayward views its
      trademarks and other intellectual property rights as important and valuable
      corporate assets. Indeed, the success of Hayward’s products is due not
      only to their high quality, but also to the Hayward Marks, other Hayward
      trademarks, and name brand recognition.

      BlueWorks’ conduct is an example of bad faith, intentional, and willful
      infringement. Such bad faith and willfulness supports Hayward’s entitlement
      to collect its attorneys’ fees from BlueWorks, See 15 U.S.C. § 1117(a)
      (allowing attorney’s fees in exceptional cases); Oviedo Medical Center, LLC
      v. Adventis Health System/Sunbelt, Inc., 6:19-cv-1711-ORL-78EJK,(M.D.
      Fla. March 26, 2020) (noting that, for purposes of trademark infringement
      and unfair competition, courts may consider a defendant’s intent to redirect
      consumers to an different website from the trademark’s owner’s site).

      Hayward is prepared to take legal action but first prefers to resolve this
      matter out of court. Hayward is prepared to resolve this matter if BlueWorks:
      (1) abandons and ceases any and all advertising and promotion of its
      products that use the HAYWARD marks; (2) stops selling the infringing and
      unauthorized products; (3) removes any statement or representation that
      falsely designates or describes the BlueWorks’ salt cells as authorized,
      certified, or sponsored by, or associated with, Hayward or that is likely to
      confuse consumers as to the source, affiliation, or sponsorship of such salt
      cells; (4) notifies all customers that these products are in no way related,
      comparable, or compatible to any HAYWARD product; (5); issues a recall
      notice to all purchasers of the BlueWorks’ salt cell that advertise with the


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      Hayward Marks in the United States and offering a full refund to any
      customers who purchased the cells; (6) compensates Hayward for past
      infringement; and (7) pays Hayward’s attorneys’ fees to date. We fully
      expect reimbursement for damages suffered by Hayward as a result of
      BlueWorks’ infringement. See Chanel, Inc. v. Gordashevsky, 558 F. Supp.
      2d 532, 540 (D.N.J. 2008) (Plaintiff brought action against defendant for
      various violations under the Lanham Act. Court granted plaintiff
      $2,248,624.00 in statutory damages, attorney’s fees in the amount of
      $15,257.00, investigative fees in the amount of $6,175.00 and $325.00 in
      costs and enjoined defendants for further violations of plaintiff’s trademark
      rights).

      Please note that we have also contacted Amazon and have initiated
      Amazon’s formal “take-down” procedure to remove these ads. But we
      request that you remove such ads from any websites, social media, and any
      other sales or marketing platforms.

      Hayward views BlueWorks’ actions with grave concern, not the least of
      which are the violations of the Lanham Act by BlueWorks’ use of the
      Hayward Marks. Please contact us about this matter by close of business,
      Friday, May 22, 2020, and provide us with written assurance that
      BlueWorks, as well as any related entity and individuals in the chain of
      distribution of these products, will agree to the above terms. If we do not
      receive these written assurances, we will be forced to assume that
      BlueWorks has decided to continue with its present course of conduct, and
      we will thus take appropriate action. Please do not contact Hayward directly.

      This letter is sent without prejudice and is not intended as a complete
      statement of the facts or law as they pertain to this matter. Hayward
      reserves all rights and remedies.

      Sincerely,



      Erik Paul Belt

      cc. Steve Halpern, Hayward
          Anne E. Shannon, Esq.


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Reg. No. 5,726,797         Hayward Industries, Inc. (NEW JERSEY CORPORATION)
                           620 Division Street
Registered Apr. 16, 2019   Elizabeth, NEW JERSEY 07207

                           CLASS 9: Electronic controls for use in swimming pools, spas, hot tubs, whirlpools, and
Int. Cl.: 9, 11            other recreational bodies of water

Trademark                  FIRST USE 12-31-2000; IN COMMERCE 12-31-2000

Principal Register         CLASS 11: Salt and chlorine generators for use in swimming pools, spas, hot tubs,
                           whirlpools, and other recreational bodies of water

                           FIRST USE 9-1-2004; IN COMMERCE 9-1-2004

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 3455440, 1600619

                           SER. NO. 88-094,043, FILED 08-27-2018




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Reg. No. 5,932,470         Hayward Industries, Inc. (NEW JERSEY CORPORATION)
                           620 Division Street
Registered Dec. 10, 2019   Elizabeth, NEW JERSEY 07207

                           CLASS 11: Electronic chlorine generators and parts and fittings therefor that produce
Int. Cl.: 11               chlorine from salt for use in swimming pools, spas, hot tubs, whirlpools, and other
                           recreational bodies of water
Trademark
                           FIRST USE 1-1-2006; IN COMMERCE 1-1-2006
Principal Register
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 3280886, 3280894

                           SER. NO. 87-449,312, FILED 05-15-2017




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 Word Mark             T-CELL-3
 Goods and             IC 011. US 013 021 023 031 034. G & S: Electrolytic chlorine generators for use with swimming pools and
 Services              spas. FIRST USE: 20091231. FIRST USE IN COMMERCE: 20091231
 Standard
 Characters
 Claimed
 Mark Drawing
                       (4) STANDARD CHARACTER MARK
 Code
 Serial Number         88705817
 Filing Date           November 25, 2019
 Current Basis         1A
 Original Filing
                       1A
 Basis
 Published for
                       April 7, 2020
 Opposition
 Owner                 (APPLICANT) Hayward Industries, Inc. CORPORATION NEW JERSEY 400 Connell Drive, Suite 6100
                       Berkeley Heights NEW JERSEY 07922
 Attorney of
                       Michael R. Friscia
 Record
 Type of Mark          TRADEMARK
 Register              PRINCIPAL
 Live/Dead
                       LIVE
 Indicator




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              United States Patent and Trademark Office

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  Logout    Please logout when you are done to release system resources allocated for you.

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TESS)




 Word Mark             T-CELL-9
 Goods and             IC 011. US 013 021 023 031 034. G & S: Electrolytic chlorine generators for use with swimming pools and
 Services              spas. FIRST USE: 20091231. FIRST USE IN COMMERCE: 20091231
 Standard
 Characters
 Claimed
 Mark Drawing
                       (4) STANDARD CHARACTER MARK
 Code
 Serial Number         88705864
 Filing Date           November 25, 2019
 Current Basis         1A
 Original Filing
                       1A
 Basis
 Published for
                       April 7, 2020
 Opposition
 Owner                 (APPLICANT) Hayward Industries, Inc. CORPORATION NEW JERSEY 400 Connell Drive, Suite 6100
                       Berkeley Heights NEW JERSEY 07922
 Attorney of
                       Michael R. Friscia
 Record
 Type of Mark          TRADEMARK
 Register              PRINCIPAL
 Live/Dead
                       LIVE
 Indicator




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  Logout    Please logout when you are done to release system resources allocated for you.

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TESS)




 Word Mark             T-CELL-15
 Goods and             IC 011. US 013 021 023 031 034. G & S: Electrolytic chlorine generators for use with swimming pools and
 Services              spas. FIRST USE: 20091231. FIRST USE IN COMMERCE: 20091231
 Standard
 Characters
 Claimed
 Mark Drawing
                       (4) STANDARD CHARACTER MARK
 Code
 Serial Number         88705891
 Filing Date           November 25, 2019
 Current Basis         1A
 Original Filing
                       1A
 Basis
 Published for
                       April 7, 2020
 Opposition
 Owner                 (APPLICANT) Hayward Industries, Inc. CORPORATION NEW JERSEY 400 Connell Drive, Suite 6100
                       Berkeley Heights NEW JERSEY 07922
 Attorney of
                       Michael R. Friscia
 Record
 Type of Mark          TRADEMARK
 Register              PRINCIPAL
 Live/Dead
                       LIVE
 Indicator




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